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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge Philip A. Brimmer

  Civil Action No. 15-cv-02197-PAB-MEH

  CHRISTOPHER CLOUSER and
  ANA CLOUSER,

        Plaintiffs,

  v.

  SIERRA NEVADA CORPORATION, a Nevada corporation, and
  UNITED STATES OF AMERICA,

       Defendants.
  _____________________________________________________________________

                                  MINUTE ORDER
  _____________________________________________________________________
  Entered by Judge Philip A. Brimmer

         This matter is before the Court on plaintiff’s Motion to Dismiss Without Prejudice
  and to Vacate Status/Scheduling Conference, which the Court construes as a notice of
  dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). Plaintiff requests the entry of an
  order dismissing the case without prejudice. The notice, however, complies with
  Federal Rule of Civil Procedure 41(a)(1)(A)(i), which provides that the “plaintiff may
  dismiss an action without a court order by filing: . . . a notice of dismissal before the
  opposing party serves either an answer or a motion for summary judgment.” (emphasis
  added). Therefore, the case was dismissed without prejudice as of the entry of the
  Motion to Dismiss. No order of dismissal is necessary.

        DATED January 28, 2016.
